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                                                                                                   U.S. DISTRICT COURT
                                                                                                       N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHER DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

BILL EDDINS,                                    )
                                                )
       Plaintiff,                               )
                                                )
v.                                              ) CIVIL ACTION NO. 2:11-cv-2152-RRA
                                                )
AMSHER COLLECTION SERVICES,                     )
INC.,                                           )
                                                )
       Defendant.                               )

                                                ORDER

       A joint stipulation of dismissal has been filed by the plaintiff, Bill Eddins, and the

defendant, Amsher Collection Services, Inc., who are the only parties to this action. The

stipulation states that it is with prejudice.

       According to the federal rules of civil procedure, under certain circumstances the

plaintiff may dismiss an action without court involvement. Rule 41 (a)(1) of the Federal Rules

of Civil Procedure provides:

       (a) Voluntary Dismissal.

               (1) By the Plaintiff.

                       (A) Without a Court Order. Subject to Rules 23(e), 23.1©, 23.2, and
                       66 and any applicable federal statute, the plaintiff may dismiss an
                       action without a court order by filing:

                               (I) a notice of dismissal before the opposing party serves either
                               an answer or a motion for summary judgment; or

                               (ii) a stipulation of dismissal signed by all parties who have
                               appeared.

                       (B) Effect. Unless the notice or stipulation states otherwise, the
                       dismissal is without prejudice. But if the plaintiff previously dismissed
                       any federal-or state-court action based on or including the same claim,
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                     a notice of dismissal operates as an adjudication on the merits.

Fed. R. Civ. P. 41 (a)(1) (underlining added).

       Wherefore, by the action of the parties and the operation of Rule 41(a)(1)(A)(ii), this

action is DISMISSED, with prejudice, costs taxed as paid.

       DONE and ORDERED this 9th day of December, 2011.



                                    Robert R. Armstrong, Jr.
                                    United States Magistrate Judge




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